     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 1 of 9 Page ID #:974



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11

12                           UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. CR 23-CR-00095-FMO-1

15              Plaintiff,                    GOVERNMENT’S MEMORANDUM REGARDING
                                              THE LISTING AND POTENTIAL SALE OF
16                   v.                       THE SAN MARINO PROPERTY OF
                                              DEFENDANT COLE MATTHEW HARRIS
17   COLE MATTHEW HARRIS,

18              Defendant.

19

20        Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys MiRi Song and Skyler
23   //
24   //
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     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 2 of 9 Page ID #:975



 1   F. Cho, hereby files its memorandum regarding the currently

 2   unauthorized listing and potential sale of the residence of defendant

 3   COLE MATTHEW HARRIS located in San Marino, California, as requested

 4   by the Honorable Margo A. Rocconi, United States Magistrate Judge.

 5    Dated: August 28, 2023              Respectfully submitted,

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10                                              /s/
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     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 3 of 9 Page ID #:976



 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.   Defendant Should Not Be Allowed to Sell the San Marino Property

 3        The government opposes, and urges the Court to deny, any

 4   application by defendant COLE MATTHEW HARRIS (“defendant”) to sell

 5   his residence in San Marino, California (the “San Marino Property”).

 6   Allowing him to do so will irrevocably undermine any mitigation of

 7   defendant’s substantial risk of nonappearance and thereby compromise

 8   the government’s prosecution of this case.         If the Court is still

 9   inclined to grant the application over the government’s objections,

10   the government requests additional time and briefing be allowed to

11   construct necessary safeguards and measures under which the sale

12   should take place.1

13        The sale of the San Marino Property would throw off the
14   carefully calculated balance this Court struck to mitigate against
15   defendant’s substantial risk of nonappearance.          Defendant was then,
16   and still is, a connected and well-heeled individual who defrauded
17   the United States of millions of pandemic-relief funds, for which he
18   is potentially facing significant restitution payments and
19   imprisonment.    Defendant then successfully deceived multiple law

20   enforcement officers and this Court to aid defendant Cindy Chen’s

21   (“defendant CHEN”) flight from prosecution to China, a non-

22   extradition country.     Defendant himself is fluent in Chinese and

23   frequently traveled to China and to surrounding countries.            Given all

24   this, there is a substantial risk that defendant will try to join

25   defendant CHEN in China, where they appear to have the connections

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27        1 To this end, an Assistant United States Attorney in the Asset
     Forfeiture/Financial Litigation Unit will appear in front of this
28   Court to provide the expert counsel necessary to guide the parties
     and the Court through the sale process.
     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 4 of 9 Page ID #:977



 1   and resources needed to reside outside the United States and dodge

 2   prosecution for their crimes indefinitely.         An item that this Court

 3   identified as necessary to anchor defendant in this district was the

 4   San Marino Property.     Cutting that anchor would jeopardize the

 5   foundation for the Court’s prior determination that defendant can be

 6   released pending trial because there exist conditions that can

 7   reasonably assure his appearance.

 8        The San Marino Property is highly valuable real estate that

 9   helps tie defendant to this district pending prosecution.           It is

10   perhaps for this reason that defendant and defendant CHEN attempted

11   to disencumber this property in February (see ECF No. 44).            Less than

12   a month after this Court denied that application, defendant CHEN fled
13   to China with defendant’s help.       Allowing defendant to sell the San
14   Marino Property would increase the risk that defendant too will flee,
15   both because he would no longer have this significant physical tie to
16   the district and because he would gain a sudden influx of cash that
17   may incentivize and facilitate flight from justice.          Thus, this
18   attempt to liquidate the San Marino Property should be viewed with
19   extreme skepticism and ultimately rejected because the risks far

20   outweigh the benefits.

21        This is especially so when considering that defendant and

22   defendant CHEN proposed a substitute “investment property” in

23   Arcadia, California (the “Arcadia Property”) in the February

24   application.    The value of the Arcadia Property may exceed over

25   $2.5 million.    See https://www.redfin.com/CA/Arcadia/315-San-Antonio-

26   Rd-91007/home/7231575.      To the extent that defendant is asserting

27   that his finances require the sale of the San Marino Property, the

28   government urges the Court to require defendant to explain why the

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     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 5 of 9 Page ID #:978



 1   Arcadia Property, along with any other alternative assets, is not

 2   available for sale.

 3   II.   If Defendant Is Allowed to Sell, There Should Be Safeguards

 4         If the Court is inclined to allow defendant to sell the San

 5   Marino Property, the government respectfully requests an opportunity

 6   to submit a proposed order that authorizes the Clerk of the United

 7   States District Court (the “Clerk of the Court”) to receive

 8   prejudgment payments corresponding to the three deeds of trust naming

 9   the Clerk of the Court and imposes conditions on the sale of the San

10   Marino Property.2    For example, the government may recommend that, as
11   a condition precedent to the Court’s authorization of a sale of the
12   San Marino Property, the Court should require defendant to sign a
13   document consenting to participation in the sale, including the
14   escrow process, by the Court and/or the United States Attorney’s
15   Office acting on behalf of the Court.        The government may also
16   recommend that the Court reserve the right to revoke its
17   authorization to sell the San Marino Property upon the recommendation
18   of the United States Attorney’s Office.
19         Additionally, if the Court is inclined to permit the sale of the

20   San Marino Property, the government respectfully requests that, in

21   the addition to any proceeds received by the Clerk of the Court from

22   the sale of the San Marino Property, the Court require defendant to

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24         2The three deeds of trust naming the Clerk of the Court consist
     of: (1) the deed of trust posted on behalf of defendant by defendant
25   and defendant CHEN which includes an obligation by defendant and
     defendant CHEN in the amount of $250,000; (2) the deed of trust
26   posted on behalf of defendant CHEN by defendant and defendant CHEN
     which includes an obligation by defendant and defendant CHEN in the
27   amount of $250,000; and (3) the deed of trust posted on behalf of
     defendant by defendant and defendant CHEN which includes an
28   obligation by defendant and defendant CHEN in the amount of
     $4,000,000.
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     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 6 of 9 Page ID #:979



 1   post a significant additional cash deposit to reasonably assure

 2   defendant’s appearance.      As discussed above, merely supplanting the

 3   Court’s deeds of trust with cash deposits would not reasonably assure

 4   defendant’s appearance to the same extent that the San Marino

 5   Property would.    For example, as shown in the table below, if

 6   defendant sells the San Marino Property for $16 million (net of

 7   expenses), defendant and/or defendant CHEN would receive net proceeds

 8   of approximately $3.2 million.

 9   Sale Proceeds (Net of Expenses)                               $16,000,000
10   Less:     Deed of Trust (Oakhurst Opportunity                 -$7,200,000
11   Lending Fund I, LP)
12   Less:     Deed of Trust (Clerk of the Court)                    -$250,000
13   Less:     Deed of Trust (Clerk of Court)                        -$250,000
14   Less:     Deed of Trust (De Montfort Group)                   -$1,100,000
15   Less:     Deed of Trust (Clerk of the Court)                  -$4,000,000
16   Net Proceeds                                                   $3,200,000
17

18           The severance of defendant’s tie to the San Marino Property and
19   a cash infusion of $3.2 million would make defendant more likely to

20   flee.    Because the ultimate sale proceeds are uncertain, the

21   government recommends that, as a condition precedent to allowing the

22   sale of the San Marino Property, the Court should require that, in

23   addition to the $4.25 million that the Court would receive because of

24   the deeds of trust posted on behalf of defendant, defendant shall

25   make a cash deposit of $1 million or 50% of the net proceeds from the

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     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 7 of 9 Page ID #:980



 1   sale, whichever is greater.3      For example, if the sale proceeds (net

 2   of expenses) are $16 million, then the Court should require an

 3   additional cash deposit of $1.6 million, which is 50% of the

 4   $3.2 million of net proceeds (after payments for the multiple deeds

 5   of trust).

 6        Admittedly, all this may be a moot point.          As a practical

 7   matter, even if the Court permits the sale of the San Marino

 8   Property, defendant may not be able to successfully sell the San

 9   Marino Property unless either the Court or the United States

10   Attorney’s Office participates in the sale.         A potential buyer may be

11   deterred when, upon opening escrow, he or she learns of the three

12   deeds of trust naming the Clerk of the Court as beneficiary.            A

13   potential buyer may also be deterred if the potential buyer learns

14   that defendant CHEN, who is a co-trustee of The Harris Family

15   Irrevocable Trust that owns the San Marino Property, is a fugitive.

16   The participation of the Court, or the United States Attorney’s

17   Office acting on behalf of the Court, in the sale may provide some

18   assurance to a buyer that the buyer will ultimately receive clear

19   title to the San Marino Property.

20   III. The Government Continues to Oppose Defendant’s Request for Less
          Strict Supervision
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22        Defendant has demonstrated to this Court that he does not

23   deserve the benefit of its doubt.       A few months of arguably imperfect

24   compliance since the last time he spectacularly violated this Court’s

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26        3 To the extent that the Court is inclined to allow defendant to
     sell the San Marino Property without requiring defendant to make a
27   substantial cash deposit in addition to the $4.25 million that the
     Court would receive because of the deeds of trust posted on behalf of
28   defendant, the government respectfully reserves its rights to move
     for reconsideration of detention and to appeal any adverse decision.
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     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 8 of 9 Page ID #:981



 1   trust by helping defendant CHEN flee from prosecution does not change

 2   that.    Compliance is expected and the bare minimum.        Defendant

 3   violated this Court’s trust on multiple occasions.          In a matter of a

 4   less than six months, defendant faked biometric check-ins for

 5   defendant CHEN, helped her flee from prosecution to China, lied to

 6   United States Probation and Pretrial Services Office (“Pretrial

 7   Services”) (and thereby this Court), lied to federal agents,

 8   surreptitiously extracted $1.1 million from the San Marino Property

 9   by signing a deed of trust in that amount naming De Montfort Group as

10   beneficiary, and silently listed it on the market without advising

11   the Court.    The government therefore continues to oppose defendant’s

12   request for less strict supervision.

13           Even if listing the San Marino Property did not violate the

14   conditions of his pretrial release, defendant’s failure to inform the

15   Court or Pretrial Services of the listing does not inspire trust in

16   light of everything that has transpired in this case so far.

17   Notably: (1) defendant listed the San Marino Property on or about

18   May 17, 2023; (2) 78 days later, on or about August 3, 2023,

19   defendant disclosed the listing to Pretrial Services; and (3) within

20   that 78-day period, neither defendant nor his defense counsel

21   disclosed the listing at the status conference on July 7, 2023, at

22   which the Court granted defendant’s request for less restrictive

23   conditions.    This Court already gave defendant the benefit of the

24   doubt in April 2023 when the government and the Court learned that,

25   on February 17, 2023, defendant signed a deed of trust in the amount

26   of $1.1 million naming De Montfort Group as beneficiary.           Defendant

27   does not deserve the Court’s benefit of the doubt again.

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     Case 2:23-cr-00095-FMO Document 172 Filed 08/28/23 Page 9 of 9 Page ID #:982



 1   IV.   The Government Respectfully Requests Reconsideration of the
           Denial of the Bond of Defendant CHEN
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 3         Lastly, the government requests that the Court reconsider its

 4   denial of defendant CHEN’s bond and instead approve          her bond nunc

 5   pro tunc and then subsequently revoke the bond.          The government has

 6   been evaluating whether it can move to forfeit the deed of trust

 7   posted on behalf of defendant CHEN by defendant and defendant CHEN

 8   which includes an obligation by defendant and defendant CHEN in the

 9   amount of $250,000 (“defendant CHEN’s deed of trust”).           On April 14,

10   2023, after defendant CHEN fled to China, this Court ordered that

11   defendant CHEN’s bond not be approved because: “Bond is not complete

12   as it is missing the surrendering of the most current passport of the

13   defendant.    Defendant has absconded and there is a current arrest

14   warrant in place.”     (ECF No. 126.)

15         An unintended consequence of the Court’s denial of defendant

16   CHEN’s bond is that defendant and/or defendant CHEN may argue that

17   defendant CHEN’s deed of trust cannot be forfeited because defendant

18   CHEN’s bond was not approved.       To obviate this impediment to

19   forfeiting defendant CHEN’s deed of trust, the government

20   respectfully requests that the Court approve defendant CHEN’s bond

21   nunc pro tunc and then subsequently revoke the bond.           This would best

22   serve the interest of justice and preclude defendant CHEN from

23   benefitting from her illegal actions.        Defendant CHEN deliberately

24   caused the delay in the approval of her bond by refusing to surrender

25   her most current passport so that she could use it to flee to China.

26   She and defendant should therefore not receive a windfall in the

27   amount of $250,000 because of deceitful delay tactics.

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